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l'"""

 

UNITED STATES DISTRICT COURT §§ _i_,;! "“~»-.t_ _/,`"\
WESTERN DISTRICT OF TENNESSEE ,. V'
EASTERN DIVISION ¢o_-
JERRED WASHINGTON, )
)
Plaintiff, )
)
vs. ) Civil Action No.: 1:03-1237-B/P

)
CORRECTIONS CORPORATION )
OF AMERICA, et ai., )
)
Defendants. )

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and7
accordingly:

lT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Management, lnc., and Prison
Management Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attomey fees, either by statute or contract, will be applied for or awarded by
either party.

This document entered on the docket sheet ln compliance

with ama ss and/orie (a) FacP on f 111 ~05 “ Ob

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Daied- this (_€b dawde ,2005

@é@a

J. DANIEL BREE\
NIT D sTATEs DISTRICT JUI)GE

 

APPROVED FOR ENTRY:

 

 

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CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxvi]le, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
columbia sc 29201 on Jun@ L, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: widow U%Aw

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F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01237 was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

